                          APPENDIX A

         SURVEY OF STATE LAW OF UNJUST ENRICHMENT




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                                              1. ALABAMA

Elements of Unjust Enrichment: “One is unjustly enriched if his retention of a benefit would be

unjust…Retention of a benefit is unjust if (1) the donor of the benefit ... acted under a mistake of fact or in

misreliance on a right or duty, or (2) the recipient of the benefit engaged in some unconscionable conduct,

such as fraud, coercion, or abuse of a confidential relationship.” Welch v. Montgomery Eye Physicians,

P.C., 891 So.2d 837, 843 (Ala. 2004)

Adoption of Restatement: See Opelika Production Credit Asso. v. Lamb, 361 So. 2d 95 (Ala. 1995).

Adequate Remedy at Law: “[The plaintiff’s] unjust-enrichment claim … and its breach-of-contract

claim …, which are based on the same facts and contract, are mutually exclusive.” Blackmon v. Renasant

Bank, 232 So. 3d 224, 228 (Ala. 2017).

Independent Cause of Action: Yes. See, e.g., Marshall v. Nelson, 622 So. 2d 889 (Ala. 1993);

Architectura, Inc. v. Miller, 769 So. 2d 330 (Ala. App. 2000).

SOL: 6 years. “‘Alabama state courts have not decided whether unjust-enrichment claims are tort claims

or implied-contract claims, much less which statute of limitations applies to such claims.’ Our research

similarly confirms that there is a distinct absence of authority definitively stating the statute of limitations

applicable to an unjust-enrichment claim. We need not, however, decide that issue here.” Snider v.

Morgan, 113 So. 3d 643, 655 (Ala. 2012) (quoting Auburn Univ. v. International Bus. Machs. Corp., 716

F. Supp. 2d 1114, 1118 (M.D. Ala. 2010) (holding the applicable statute of limitations is determined by

whether the particular claim for unjust enrichment arises from an implied-contract (6 year SOL)or tortious

conduct (2 year SOL))).




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                                             2. ARIZONA

Elements of Unjust Enrichment:“Recovery under the theory of unjust enrichment requires five

elements: (1) an enrichment; (2) an impoverishment; (3) a connection between the enrichment and the

impoverishment; (4) absence of justification for the enrichment and the impoverishment and (5) an

absence of a remedy provided by law.” Sierra Vista v. Cochise Enters., 697 P.2d 1125, 1131 (Ariz. App.

1984).

Adoption of Restatement: Unjust enrichment is “based on the principle that a person who has been

unjustly enriched at the expense of another is required to make restitution to the other.” Nguyen v.

Nguyen, 2017 Ariz. App. Unpub. LEXIS 105 (Ariz. App. January 31, 2017) (internal quotes omitted)

(citing Murdock-Bryant Constr., Inc. v. Pearson, 146 Ariz. 48, 52, 703 P.2d 1197 (Ark. 1985) (quoting

Restatement (First) of Restitution § 1 (1937))).

Adequate Remedy at Law: Requires an absence of an adequate remedy at law. See Sierra Vista v.

Cochise Enters., 697 P.2d 1125, 1131 (Ariz. App. 1984).

Independent Cause of Action: Yes. See, e.g., Beauchamp Law Office PC v. Gust Rosenfeld PLC, 2018

Ariz. App. Unpub. LEXIS 587, *5 (Ariz. App. April 19, 2018).

SOL: 3 years. “Quantum meruit has a three-year limitation period.” Chonczynski v. RY Dev. Co., 2009

Ariz. App. Unpub. LEXIS 348, *12 (Ariz. App. 2009) (citng A.R.S. § 12-543); see also Stewart v.

Sterling Mobile Servs., 2014 Ariz. App. Unpub. LEXIS 276, *11 (Ariz. App. 2014) (holding that either

the 3-year SOL under A.R.S. § 12-543 or the 4-year catch-all SOL under A.R.S. § 12-550 apply).




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                                            3. ARKANSAS

Elements of Unjust Enrichment: “To find unjust enrichment, a party must have received something of

value, to which he or she is not entitled and which he or she must restore. Hatchell v. Wren, 363 Ark. 107,

117, 211 S.W.3d 516, 522 (2005). There must also be some operative act, intent, or situation to make the

enrichment unjust and compensable. Id.; Dews v. Halliburton Indus., Inc., 288 Ark. 532, 708 S.W.2d 67

(1986). One who is free from fault cannot be held to be unjustly enriched merely because he or she has

chosen to exercise a legal or contractual right. Rigsby v. Rigsby, 356 Ark. 311, 149 S.W.3d 318 (2004);

Guaranty Nat'l Ins. Co. v. Denver Roller, Inc., 313 Ark. 128, 854 S.W.2d 312 (1993). In short, an action

based on unjust enrichment is maintainable where a person has received money or its equivalent under

such circumstances that, in equity and good conscience, he or she ought not to retain. Merchants &

Planters Bank & Trust Co. v. Massey, 302 Ark. 421, 790 S.W.2d 889 (1990); Frigillana v. Frigillana,

266 Ark. 296, 584 S.W.2d 30 (1979).” El Paso Prod. Co. v. Blanchard, 371 Ark. 634, 646 (Ark. 2007).

Adoption of Restatement: “The restitutionary goal, we have stated, is to prevent unjust enrichment of

the defendant by making him give up what he wrongfully obtained from the plaintiff.” Childs v. Adams,

322 Ark. 424, 434-435 (Ark. 1995) (citing Brookfield v. Rock Island Improvement Co., 205 Ark. 573, 169

S.W.2d 662 (1943) (citing Restatement (First) of Restitution § 1 (1937)).

Adequate Remedy at Law: “[W] there is an express contract the law will not imply a quasi or

constructive contract.” Lowell Perkins Agency, Inc. v. Jacobs, 250 Ark. 952, 959 (Ark. 1991).

Independent Cause of Action: Yes. See, e.g., J&J Marotti, Inc. v. Papachristou, 2000 Ark. App. LEXIS

835, *11 (Ark. App. 2000).

SOL: 3 years. “[T]he statute of limitations for each of these claims [fraud, promissory estoppel, unjust

enrichment, and negligence] is three years.” Crutchfield v. Tyson Foods, Inc., 2017 Ark. App. 121, 4

(Ark. App. 2017) (citing Quality Optical of Jonesboro, Inc. v. Trusty Optical, L.L.C., 365 Ark. 106, 225

S.W.3d 369 (Ark. 2006)).


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                                             4. CALIFORNIA

Unjust Enrichment: “[T]he elements for a claim of unjust enrichment: receipt of a benefit and unjust

retention of the benefit at the expense of another.” Lectrodryer v. SeoulBank, 77 Cal. App. 4th 723, 726

(Cal. App. 2000).

Adoption of Restatement: “Under the law of restitution, an individual may be required to make

restitution if he is unjustly enriched at the expense of another. (Rest., Restitution, § 1, p. 12.) A person is

enriched if he receives a benefit at another's expense. (Id., com. a, p. 12.) The term ‘benefit’ ‘denotes any

form of advantage.’ (Id., com. b, p. 12.) Thus, a benefit is conferred not only when one adds to the

property of another, but also when one saves the other from expense or loss. Even when a person has

received a benefit from another, he is required to make restitution ‘only if the circumstances of its receipt

or retention are such that, as between the two persons, it is unjust for him to retain it.’ (Id., com c, p.

13.).” Ghirardo v. Antonioli, 14 Cal. 4th 39, 51 (Cal. 1996); see also Troyk v. Farmers Group, Inc., 171

Cal. App. 4th 1305 (Cal. App. 2009) (citing Rest. Restitution; Ghirado, supra).

Adequate Remedy at Law: “[I]t is well settled that an action based on an implied-in-fact or quasi-

contract cannot lie where there exists between the parties a valid express contract covering the same

subject matter.” Lance Camper Mfg. Corp. v. Republic Indemnity Co., 51 Cal.Rptr.2d 622, 628 (Cal. App.

1996)

Independent Cause of Action: Yes. See, e.g., Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762

(9th Cir. 2015); Lectrodryer v. SeoulBank, 91 Cal.Rptr.2d 881 (Cal.App. 2000).

SOL: 3 years. “An unjust enrichment or quasi-contract action in the form of a common count to recover

money or other benefit obtained by mistake is governed by the three-year statute of limitations for actions

based on fraud or mistake.” Federal Deposit Ins. Corp. v. Dintino, 167 Cal. App. 4th 333, 348 (Cal. App.

2008).




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                                            5. COLORADO

Unjust Enrichment: “We have previously determined that a party claiming unjust enrichment must

prove that (1) the defendant received a benefit (2) at the plaintiff's expense (3) under circumstances that

would make it unjust for the defendant to retain the benefit without commensurate compensation.” Lewis

v. Lewis, 189 P.3d 1134, 1141 (Colo. 2008) (citing Salzman, 996 P.2d at 1266-67 (Colo. 2000).

Adoption of Restatement: “The Restatement of Restitution states ‘person who has been unjustly

enriched at the expense of another is required to make restitution to the other.’ Restatement of Restitution

§ 1 (1937). ‘A person obtains restitution when he is restored to the position he formerly occupied either

by the return of something which he formerly had or by the receipt of its monetary equivalent.’ Id. § 1

cmt.a.” Salzman v. Bachrach, 996 P.2d 1263, 1265 (Colo. 2000).

Adequate Remedy at Law: “[A]n express contract precludes a quasi-contract on the same subject,

although here only nominal damages are available under the express contract.” Interbank Invs. v. Eagle

River Water & Sanitation Dist., 77 P.3d 814, 816 (Colo. App. 2003).

Independent Cause of Action: Yes. See, e.g., Lewis v. Lewis, 189 P.3d 1134, 1141 (Colo. 2008).

SOL: 2 years. See Melat, Pressman & Higbie, L.L.P. v. Hannon Law Firm, L.L.C., 2012 CO 61, P38

(Colo. 2012) (apply catch-all SOL provided by Section 13-80-108(8)).




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                                           6. CONNECTICUT

Elements of Unjust Enrichment: “Plaintiffs seeking recovery for unjust enrichment must prove (1) that

the defendants were benefited, (2) that the defendants unjustly did not pay the plaintiffs for the benefits,

and (3) that the failure of payment was to the plaintiffs' detriment.” Hartford Whalers Hockey Club v.

Uniroyal Goodrich Tire Co., 231 Conn. 276, 283 (Conn. 1994).

Adoption of Restatement: “The doctrine of unjust enrichment ‘is based upon the principle that one

should not be permitted unjustly to enrich himself at the expense of another but should be required to

make restitution of or for property received, retained or appropriated. . . . It is not necessary, in order to

create an obligation to make restitution or to compensate, that the party unjustly enriched should have

been guilty of any tortious or fraudulent act. The question is: Did he, to the detriment of someone else,

obtain something of value of which he was not entitled?’ Franks v. Lockwood, 146 Conn. 273, 278, 150

A.2d 215; Schleicher v. Schleicher, 120 Conn. 528, 534, 182 A. 162. See Restatement, Restitution § 1.”

Monarch Accounting Supplies, Inc. v. Prezioso, 170 Conn. 659, 665-666 (Conn. 1976).

Adequate Remedy at Law: “Unjust enrichment is a legal doctrine to be applied when no remedy is

available pursuant to a contract.” United Coastal Indus. v. Clearheart Constr. Co., 802 A.2d 901, 905

(Conn. App. 2002)

Independent Cause of Action: Yes. See, e.g., Reed v. McCready, 2014 Conn. Super. LEXIS 1230, *15

(Conn. Super2014).

SOL: 6 years. “Unjust enrichment and quantum meruit claims are most analogous to contract claims and

are subject to the six-year statute of limitations as well.” Generation Partners, LP v. Mandell, 2011 Conn.

Super. LEXIS 1913, *8 (Conn. Super. July 22, 2011) (citing Bourbeau v. Alpha Q, Inc., 2008 Conn.

Super. LEXIS 1299, *5 (Conn. Super. May 22, 2008)).




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                                             7. DELAWARE

Elements of Unjust Enrichment: “Unjust enrichment is "the unjust retention of a benefit to the loss of

another, or the retention of money or property of another against the fundamental principles of justice or

equity and good conscience." The elements of unjust enrichment are: (1) an enrichment, (2) an

impoverishment, (3) a relation between the enrichment and impoverishment, (4) the absence of

justification, and (5) the absence of a remedy provided by law.” Nemec v. Shrader, 991 A.2d 1120, 1130

(Del. 2010).

Adoption of Restatement: See Constr. Res. Mgmt. v. Littleton, 2008 Del. Super. LEXIS 293, *14c

(August 28, 2008); Latesco, L.P. v. Wayport, Inc., 2009 Del. Ch. LEXIS 145, *35 (July 24, 2009) (citing

Restatement (First) of Restitution (1937).

Adequate Remedy at Law: Delaware courts require the absence of a remedy provided by law. Nemec v.

Shrader, 991 A.2d 1120, 1130 (Del. 2010).

Independent Cause of Action: Yes. See, e.g., Bear Stearns Mortg. Funding Trust 2006-SL1 v. EMC

Mortg. LLC, 2015 Del. Ch. LEXIS 9, *54 (Del. Ch. 2015).

SOL: 3 years. Vichi v. Koninklijke Philips Elecs. N.V., 2009 Del. Ch. LEXIS 209, 2009 WL 4345724, at

*15 (Del. Ch. Dec. 1, 2009).




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                                   8. DISTRICT OF COLUMBIA

Elements of Unjust Enrichment: “Unjust enrichment occurs when: (1) the plaintiff conferred a benefit

on the defendant; (2) the defendant retains the benefit; and (3) under the circumstances, the defendant's

retention of the benefit is unjust.” News World Communications, Inc. v. Thompsen, 878 A.2d 1218, 1222

(D.C. 2005).

Adoption of Restatement: “Unjust enrichment occurs when: (1) the plaintiff conferred a benefit on the

defendant; (2) the defendant retains the benefit; and (3) under the circumstances, the defendant's retention

of the benefit is unjust.” Pearline Peart v. D.C. Hous. Auth., 972 A.2d 810, 813 (D.C. App. 2009) (citing

Restatement (First) of Restitution, § 1, cmt. a (1937)).

Adequate Remedy at Law: “Where a written contract exists, an unjust enrichment claim generally is not

appropriate because it would require a court to ‘displace the terms of that contract and impose some other

duties not chosen by the parties.’” Jeter v. Cash, 2014 D.C. Super. LEXIS 6, *31-32 (D.C. Super. April

21, 2014) (quoting Emerine v. Yancey, 680 A.2d 1380, 1384 (D.C. 1996).

Independent Cause of Action: Yes. See, e.g., Boyd v. Kilpatrick Townsend & Stockton, 164 A.3d 72, 75

(D.C. Ct. App. 2017).

SOL: 3 years. Under this theory, the aforementioned claims would not be barred by the three-year

statutes of limitations for unjust enrichment and breach of an implied-in-fact contract.” Boyd v. Kilpatrick

Townsend & Stockton, 164 A.3d 72, 75 (D.C. Ct. App. 2017).




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                                              9. FLORIDA

Elements of Unjust Enrichment: “The elements of a cause of action for unjust enrichment are: (1)

plaintiff has conferred a benefit on the defendant, who has knowledge thereof; (2) defendant voluntarily

accepts and retains the benefit conferred; and (3) the circumstances are such that it would be inequitable

for the defendant to retain the benefit without paying the value thereof to the plaintiff.” Hillman Const.

Corp. v. Wainer, 636 So.2d 576, 577 (Fla. App. 1994).

Adoption of Restatement: “A claim for unjust enrichment seeks restitution from a party allegedly

unjustly enriched. See Restatement of Restitution § 1, at 12 (1937) (‘A person who has been unjustly

enriched at the expense of another is required to make restitution to the other.’).” Ala v. Chesser, 5 So. 3d

715, 718 (Fla. App. 2009).

Adequate Remedy at Law: “[A] plaintiff cannot pursue an equitable theory, such as unjust enrichment

or quantum meruit, to prove entitlement to relief if an express contract exists.” Ocean Communs., Inc. v.

Bubeck, 956 So. 2d 1222, 1225 (Fla. App. 2007).

Independent Cause of Action: Yes. See, e.g., Hillman Const. Corp. v. Wainer, 636 So.2d 576, 577 (Fla.

App. 1994).

SOL: 4 years. “The relevant statute of limitations for quantum meruit or unjust enrichment claims is four

years.” Beltran v. Miraglia, 125 So. 3d 855, 859 (Fla App. 2013) (Applying § 95.11(3)(k), Fla. Stat.

(2011)).




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                                             10. GEORGIA

Elements of Unjust Enrichment: “Unjust enrichment applies when as a matter of fact there is no legal

contract…, but when the party sought to be charged has been conferred a benefit by the party contending

an unjust enrichment which the benefited party equitably ought to return or compensate for.” Engram v.

Engram, 463 S.E.2d 12, 15 (Ga. 1995) (quotation marks omitted).

Adoption of Restatement: See Evans v. Evans, 237 Ga. 549, 553 (Ga. 1976).

Adequate Remedy at Law: “An unjust enrichment theory does not lie where there is an express

contract.” Donchi, Inc. v. Robdol, LLC, 640 S.E.2d 719 (Ga.App. 2006).

Independent Cause of Action: Yes. See, e.g., Roberts v. Smith, 341 Ga. App. 823, 829 (341 Ga. App.

823) (holding a constructive trust is not an independent cause of action but a remedy by which a plaintiff

prevailing on a theory of unjust enrichment may recover); Reidling v. Holcomb, 483 S.E.2d 624 (Ga.App.

1997).

SOL: 4 years. “[W]e note that claims for … unjust enrichment are subject to a four-year limitation period

under … OCGA § 9-3-26.” Rollins v. LOR, Inc., 345 Ga. App. 832, 841 (Ga. App. 2018) (citing Engram

v. Engram, 265 Ga. 804, 806 (2) (463 SE2d 12) (Ga. 1995)).




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                                               11. ILLINOIS

Elements of Unjust Enrichment: “The theory of unjust enrichment is based on a contract implied in

law. To recover under this theory, plaintiffs must show that defendant voluntarily accepted a benefit

which would be inequitable for him to retain without payment.” People ex rel. Hartigan v. E & E

Hauling, Inc., 607 N.E.2d 165, 177 (Ill. 1992).

Adoption of Restatement: “The facts of these cases do not fit comfortably within our general concept of

restitution. The Restatement speaks in terms of a person having been unjustly enriched, or a benefit

having been conferred on another, or a person having performed the duty of another. (Restatement of

Restitution §§ 1, 13, 14, 15 (1937).” Board of Education v. A, C & S, Inc., 131 Ill. 2d 428, 466 (Ill. 1989).

Adequate Remedy at Law: “[W]here there is a specific contract that governs the relationship of the

parties, the doctrine of unjust enrichment has no application.” Guinn v. Hoskins Chevrolet, 361 Ill. App.

3d 575, 604 (Ill. App. 2005) (quoting Nesby v. Country Mutual Insurance Co., 346 Ill. App. 3d 564, 566,

805 N.E.2d 241, 281 Ill. Dec. 873 (Ill. 2004); but see Scott v. GlaxoSmithKline Consumer Healthcare,

L.P., 2006 U.S. Dist. LEXIS 18630 (N.D. Ill. April 12, 2006) (“However, unjust enrichment is not

necessarily an equitable action. Thus the existence of a full and adequate remedy at law . . . is not always

an appropriate reason for dismissal.”).

Independent Cause of Action: Not an independent cause of action. See Cleary v. Philip Morris, Inc.,

656 F.3d 511, 516-520 (7th Cir. 2011); but see Partipilo v. Hallman, 156 Ill. App. 3d 806, 809 (Ill App.

1987) (“In order to achieve the result suggested in the Restatement of Restitution, Illinois courts have

implied a contract in law based upon the defendant's receipt of a benefit which would be unjust for him to

retain without paying for it. […] The theory on which the plaintiff in this suit seeks money damages,

unjust enrichment, sometimes referred to as restitution, a contract implied in law, quasi-contract, or an

action in assumpsit, is the product of a long tradition in law and is an action at law.”)

SOL: 5 years. “The same five-year statute of limitation has been applied to an action seeking restitution


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of taxes erroneously paid, based upon the same theory of ‘unjust enrichment,’ an action ‘at law…’”

Sundance Homes v. County of Du Page, 195 Ill. 2d 257, 271 (Ill. App. 2008) (citing Burns Philp Food,

Inc. v. Cavalea Continental Freight, Inc., 135 F.3d 526, 527-28 (7th Cir. 1998); Partipilo v. Hallman, 156

Ill. App. 3d 806, 109 Ill. Dec. 387, 510 N.E.2d 8 (Ill. 1987)).




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                                            12. INDIANA

Elements of Unjust Enrichment: “To prevail on a claim of unjust enrichment, a plaintiff must establish

that a measurable benefit has been conferred on the defendant under such circumstances that the

defendant's retention of the benefit without payment would be unjust.” Bayh v. Sonnenburg, 573 N.E.2d

398, 408 (Ind. 1991).

Adoption of Restatement: “‘A person who has been unjustly enriched at the expense of another is

required to make restitution to the other.’ RESTATEMENT OF RESTITUTION § 1 (1937).” Zoeller v. E.

Chi. Second Century, Inc., 904 N.E.2d 213, 220 (Ind. 2009); see also Kan. City Servs. v. Connan, 77

N.E.3d 269 (Ind. App. 2017).

Adequate Remedy at Law: “Consequently, a contract precludes application of quantum meruit because

(1) a contract provides a remedy at law and (2)--as a remnant of chancery procedure--a plaintiff may not

pursue an equitable remedy when there is a remedy at law.” King v. Terry, 805 N.E.2d 395, 400 (Ind.

App. 2004).

Independent Cause of Action: Yes. See, e.g., Bright v. Kuehl, 650 N.E.2d 311, 315-16 (Ind. App. 1995).

SOL: 6 years. “Accordingly, King's complaint establishes a quantum meruit claim, which has a six-year

statute of limitations.” King v. Terry, 805 N.E.2d 395, 400 (Ind. App. 2004) (applying Ind. Code § 34-11-

2-7 (1999)).




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                                                 13. IOWA

Elements Unjust Enrichment: “Recovery based on unjust enrichment can be distilled into three basic

elements of recovery . . . They are: (1) defendant was enriched by the receipt of a benefit; (2) the

enrichment was at the expense of the plaintiff; and (3) it is unjust to allow the defendant to retain the

benefit under the circumstances.” State ex rel. Palmer v. Unisys Corp., 637 N.W.2d 142, 154-55 (Ia.

2001).

Adoption of Restatement: “Unjust enrichment developed from a common-law count called ‘money had

and received,’ which was derived from an earlier form of action known as general assumpsit. Iconco v.

Jensen Constr. Co., 622 F.2d 1291, 1295 (8th Cir. 1980). This action developed gradually in the English

common law, and by 1750 became a common remedy where a defendant had received money he was

obligated by ‘natural justice and equity to refund.’ Id. (quoting Moses v. MacFerlan, 2 Burr 1005, 1012,

97 Eng. Rep. 676, 681 (K.B. 1760); Ames, The History of Assumpsit, 2 Harv. L. Rev. 53 (1888)). The

action was quickly recognized in this country and, by the 1930's, the principle of unjust enrichment

became well engrained into the law. See Iconco, 622 F.2d at 1295; Restatement (First) of Restitution § 1

(1936) (‘A person who has been unjustly enriched at the expense of another is required to make

restitution to the other.’).” State ex rel. Palmer v. Unisys Corp., 637 N.W.2d 142, 154 (Ia. 2001); see also

Handlos v. Intercreditor Comm., 838 N.W.2d 870 (Ia. App. 2013).

Adequate Remedy at Law: “Generally the existence of a contract precludes the application of the

doctrine of unjust enrichment.” Johnson v. Dogden, 451 N.W.2d 168, 175 (Ia. 1990) (citing Smith v.

Harrison, 325 N.W.2d 92, 94 (Ia. 1982)).

Independent Cause of Action: Yes. See Dolezal v. Cedar Rapids, 326 N.W.2d 355, 360 (Ia. 1982).

SOL: 5 years. “The claim is therefore subject to the five-year statute of limitations on unwritten

contracts.” Dolezal v. Cedar Rapids, 326 N.W.2d 355, 360 (Ia. 1982) (citing Iowa Code § 614.1(5)).




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                                             14. KANSAS

Elements of Unjust Enrichment: “[F]or unjust enrichment to occur: (1) A benefit must have been

conferred upon the defendant, (2) the defendant must have retained the benefit, and (3) under the

circumstances, the defendant's retention of the benefit must be unjust.” Estate of Draper v. Bank of Am.,

N.A., 288 Kan. 510, 534 (2009) (citing In re Estate of Sauder, 283 Kan. 694, 719, 156 P.3d 1204 (2007).

Adoption of Restatement: See Peterson v. Midland Nat'l Bank, 242 Kan. 266 (Kan. 1987).

Adequate Remedy at Law: “But a claim for unjust enrichment is an equitable claim, and generally an

equitable remedy is not available when an adequate remedy exists under another legal claim.” Deeds v.

Waddell & Reed Inv. Mgmt. Co., 47 Kan. App. 2d 499, 511 (Kan. App. 2012) (citing Nelson v. Nelson,

288 Kan. 570, 597, 205 P.3d 715 (Kan. 2009)).

Independent Cause of Action: Yes. See, e.g., Haz-Mat Response, Inc. v. Certified Waste Mgt., Ltd., 910

P.2d 839 (Kan. 1996); Estate of Draper v. Bank of Am., N.A., 288 Kan. 510, 534 (Kan. 2009) (Applying

K.S.A. § 60-512).

SOL: 3 years. Estate of Draper v. Bank of Am., N.A., 288 Kan. 510, 534 (Kan. 2009) (Applying K.S.A. §

60-512).




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                                            15. KENTUCKY

Elements of Unjust Enrichment: “To recover on a claim of unjust enrichment a plaintiff is required to

‘prove the following three elements: (1) benefit conferred upon defendant at plaintiff's expense; (2) a

resulting appreciation of benefit by defendant; and (3) inequitable retention of [that] benefit without

payment for its value.’” Furlong Dev. Co. v. Georgetown-Scott Cty. Planning & Zoning Comm’n, 504

S.W.3d 34, 39-40 (Ky. 2016) (quoting Jones v. Sparks, 297 S.W.3d 73, 78 (Ky. App. 2009)).

Adoption of Restatement: “The obvious justification for restitution is that one should not be unjustly

enriched at the expense of another.” Holman v. Holman, 2004 Ky. App. Unpub. LEXIS 853, *5-6 (Ky.

App. July 9, 2004) (citing Alexander Hamilton Life Ins. Co. of America v. Lewis, Ky., 550 S.W.2d 558,

559 (Ky. 1977) (citing Restatement (First) Restitution, § 1 (1937)).

Adequate Remedy at Law: “The doctrine of unjust enrichment has no application in a situation where

there is an explicit contract which has been performed.” Codell Constr. Co. v. Commonwealth, 566

S.W.2d 161, 165 (Ky. App. 1977).

Independent Cause of Action: Yes. See, e.g., Emerson v. Emerson, 709 S.W.2d 853 (Ky. App. 1986).

SOL: 5 years. See Norohna v. Zolkiewicz, 2018 Ky. App. Unpub. LEXIS 395, *8 ?(Ky. 2018) (citing

KRS 413.120; Degener v. Hall Contracting Corporation, 27 S.W.3d 775, 782 (Ky. 2000)).




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                                            16. LOUISIANA

Elements Unjust Enrichment: “To support an action for unjust enrichment, a plaintiff must show: (1) an

enrichment; (2) an impoverishment; (3) a causal connection between the enrichment and the

impoverishment; (4) an absence of justification or cause for the enrichment or impoverishment; and (5)

no other remedy at law.” Kilpatrick v. Kilpatrick, 660 So. 2d 182, 186 (La. App. 1995) (citing Edmonston

v. A-second Mortgage Co. of Slidell, Inc., 289 So. 2d 116 (La. 1974)).

Adequate Remedy at Law: “The action must not be allowed to defeat the purpose of a rule of law

directed to the matter at issue.” Edmonston v. A-Second Mortg. Co., 289 So. 2d 116, 122 (La. 1974)

(citing Civ. Code Art. 21; Minyard v. Curtis Products, Inc., 251 La. 624, 205 So. 2d 422 (La. 1967)).

Independent Cause of Action: Yes. See, e.g., “[A] claim for unjust enrichment is quasi-contractual.”

Onstott v. Certified Capital Corp., 950 So. 2d 744, 747 (La. App. 2006) (citing Gulfstream Services, Inc.

v. Hot Energy Services, Inc. 907 So.2d 96, 100 (La. App. 2005)).

SOL: 10 years. “[Q]uasi-contractual actions are subject to a liberative prescription of ten years.” Onstott

v. Certified Capital Corp., 950 So. 2d 744, 747 (La. App. 2006) (citing LSA-C.C. art. 3499; Kilpatrick v.

Kilpatrick, 660 So. 2d 182, 186 (La. App. 1995)).




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                                                 17. MAINE

Elements of Unjust Enrichment: “To sustain a claim for unjust enrichment, a claimant must establish

‘that it conferred a benefit on the other party . . . that the other party had ‘appreciation or knowledge of

the benefit’ . . . and . . . that the acceptance or retention of the benefit was under such circumstances as to

make it inequitable for it to retain the benefit without payment of its value.’ Howard & Bowie v. Cloutier

& Briggs, 2000 ME 148, P13, 759 A.2d 707 (quoting June Roberts Agency, Inc., 676 A.2d at 49). Unjust

enrichment, therefore, permits recovery ‘for the value of the benefit retained when there is no contractual

relationship, but when, on the grounds of fairness and justice, the law compels performance of a legal and

moral duty to pay . . . .’ Paffhausen v. Balano, 1998 ME 47, P6, 708 A.2d 269, 271. Trial court

determinations on the elements of unjust enrichment are factual issues that will not be set aside as clearly

erroneous unless there is no competent evidence in the record to support them. See Howard & Bowie,

2000 ME 148, ¶ 13.” Forrest Assocs. v. Passamaquoddy Tribe, 2000 ME 195, ¶ 14 (Me. 2000).

Adoption of Restatement: “In its technical sense, ‘restitution’ refers to a person’s recovery of benefits

he has conferred on another in circumstances making it unjust or inequitable for the other to retain those

benefits. See Restatement of Restitution, passim, especially Introductory Note and §§ 1, 3, 4, 21, 28, 150,

151 (1937).” Bartner v. Carter, 405 A.2d 194, 202 (Me. 1979).

Adequate Remedy at Law: “Maine has no absolute rule barring recovery [under unjust enrichment] in

the presence of a valid contract.” Combustion Eng'g, Inc. v. Miller Hydro Group, 812 F. Supp. 260, 262-

63 (D. Me. 1992); see also George C. Hall & Sons, Inc. v. Taylor, 628 A.2d 1037 (Me. 1993).

Independent Cause of Action: Yes. See, e.g., George C. Hall & Sons, Inc. v. Taylor, 628 A.2d 1037

(Me. 1993); Estate of Miller, 2008 ME 176 (Me. 2008).

SOL: 6 years. “We have applied the general six-year statute of limitations in civil cases to unjust

enrichment claims.” Estate of Miller, 2008 ME 176 (Me. 2008), P28 (applying 14 M.R.S. § 752 (2007)).




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                                             18. MARYLAND

Elements of Unjust Enrichment: “This Court has defined unjust enrichment as constituting three

elements: 1. A benefit conferred upon the defendant by the plaintiff; 2. An appreciation or knowledge by

the defendant of the benefit; and 3. The acceptance or retention by the defendant of the benefit under such

circumstances as to make it inequitable for the defendant to retain the benefit without the payment of its

value.” Berry & Gould, P.A. v. Berry, 757 A.2d 108, 113 (Md. 2000) (quotation marks omitted).

Adoption of Restatement: “Restitution is probably most often thought of as a remedy to avoid unjust

enrichment. Section 1 of the Restatement of Restitution (1937) provides that: A person who has been

unjustly enriched at the expense of another is required to make restitution to the other.” Magan v. Medical

Mut. Liab. Ins. Society, 331 Md. 535, 541 (Md. 1993); see also Alternatives Unlimited, Inc. v. New

Baltimore City Bd. of Sch. Comm'rs, 155 Md. App. 415, 422 (Md. App. 2004).

Adequate Remedy at Law: See Cnty. Comm'rs of Caroline Cnty. v. J. Roland Dashiell & Sons, Inc., 358

Md. 83, 747 A.2d 600, 609 (Md. 2000) (noting that Maryland law recognizes claim for unjust enrichment

even if there is contract “when there is evidence of fraud or bad faith . . . or when the express contract

does not fully address a subject matter”).

Independent Cause of Action: “[T]he Maryland Court of Appeals, however, has recognized that unjust

enrichment claims seeking money damages may be treated as claims at law.” Stanley v. Cent. Garden &

Pet Corp., 891 F. Supp. 2d 757, 766 (D. Md. 2012); see also Ver Brycke v. Ver Brycke, 379 Md. 669, 698,

843 A.2d 758 (Md. 2004).

SOL: 3 years. “[C]laim for unjust enrichment that seeks the remedy of restitution of money is subject to

the general three-year statute of limitations.” Jason v. Nat'l Loan Recoveries, LLC, 227 Md. App. 516,

529 (Md. App. 2016) (citing Ver Brycke v. Ver Brycke, 379 Md. 669, 698, 843 A.2d 758 (Md. 2004)).




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                                         19. MASSACHUSETTS

Elements of Unjust Enrichment: “Restitution is an equitable remedy by which a person who has been

unjustly enriched at the expense of another is required to repay the injured party …. [It] is appropriate

‘only if the circumstances of its receipt or retention are such that, as between the two persons, it is unjust

for [one of them] to retain it.’” Santagate v. Tower, 833 N.E.2d 171, 176 (Mass. App. 2005).

Adoption of Restatement: “Restitution is an equitable remedy by which a person who has been unjustly

enriched at the expense of another is required to repay the injured party. Salamon v. Terra, 394 Mass.

857, 859, 477 N.E.2d 1029 (1985), quoting Restatement of Restitution § 1 (1937). Jones v. Swift, 300

Mass. 177, 185, 15 N.E.2d 274 (1938). The fact that a person has benefitted from another ‘is not of itself

sufficient to require the other to make restitution therefor.’ Restatement of Restitution, supra at § 1

comment c. Restitution is appropriate ‘only if the circumstances of its receipt or retention are such that, as

between the two persons, it is unjust for [her] to retain it.’ Id. See National Shawmut Bank v. Fidelity Mut.

Life Ins. Co., 318 Mass. 142, 146, 61 N.E.2d 18 (1945).” Cox v. Cox, 56 Mass. App. Ct. 864, 872-873

(Mass. App. 2002) (quoting Keller v. O'Brien, 425 Mass. 774, 683 N.E.2d 1026 (Mass. 1997)).

Adequate Remedy at Law: “An equitable remedy for unjust enrichment is not available to a party with

an adequate remedy at law.” Santagate v. Tower, 64 Mass. App. 324, 329 (Mass. App. 2005).

Independent Cause of Action: Yes. See, e.g., Suffolk Construction Company, Inc. v. Benchmark

Mechanical Systems, Inc., 475 Mass. 150, 156 (Mass. 2017).

SOL: 6 years. “[unjust enrichment] claims are quasicontractual, and are subject to the six-year statute of

limitations applicable to contracts.” Suffolk Construction Company, Inc. v. Benchmark Mechanical

Systems, Inc., 475 Mass. 150, 156 (Mass. 2017).




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                                             20. MICHIGAN

Elements of Unjust Enrichment: “The essential elements of [an unjust enrichment] claim are (1) receipt

of a benefit by the defendant from the plaintiff, and (2) which benefit it is inequitable that the defendant

retain.” B & M Die Co. v. Ford Motor Co., 421 N.W.2d 620, 622 (Mich. App. 1988).

Adoption of Restatement: “Even though no contract may exist between two parties, under the equitable

doctrine of unjust enrichment, ‘[a] person who has been unjustly enriched at the expense of another is

required to make restitution to the other.’ Restatement Restitution, § 1, p 12.” Michigan Educ. Emples.

Mut. Ins. Co. v. Morris, 460 Mich. 180, 198 (Mich. 1999).

Adequate Remedy at Law: “[A] contract to prevent unjust enrichment will be implied only if there is no

express contract covering the same subject matter.” Romoe Inv. v. Michigan Consol. GTas Co., 2007

Mich. App. LEXIS 1190, *26 (Mich. App. July 1, 2017); see also Martin v East Lansing School District,

193 Mich. App. 166, 177; 483 N.W.2d 656 (Mich. App. 1992).

Independent Cause of Action: Yes. See, e.g., Midtown Aggregate Inc. v. Clean Air Works, 2006 Mich.

App. LEXIS 2411, *7 (Mich App. 2006) (citing Kammer Asphalt Paving Co, Inc v East China Twp

Schools, 443 Mich. 176, 182 n 11; 504 N.W.2d 635 (Mich. 1993)).

SOL: 6 years. “[A]ctions for promissory estoppel/quantum meruit/unjust enrichment ‘depend on the

existence of contract or contract principles’ and generally are ‘governed by the 6-year statute of

limitations.” Dorr, 2018 Mich. App. LEXIS 2815, *9 (Mich. App. July 17, 2018) (quoting Huhtala v

Travelers Ins Co, 401 Mich 118, 126; 257 NW2d 640 (Mich. 1977)).




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                                           21. MINNESOTA

Elements of Unjust Enrichment: “The essential elements of quasi contract are a benefit conferred upon

the defendant by the plaintiff, appreciation by the defendant of such benefit, and acceptance and retention

by the defendant of such benefit under such circumstances that it would be inequitable for him to retain it

without paying the value thereof.” Acton Const. Co. v. State, 383 N.W.2d 416, 417 (Minn. App. 1986).

Adoption of Restatement: See Klass v. Twin City Federal Sav. & Loan Association, 291 Minn. 68, 71

(Minn. 1971).

Adequate Remedy at Law: “A party may not have equitable relief where there is an adequate remedy at

law available.” ServiceMaster of St. Cloud v. GAB Business Servs., 544 N.W.2d 302, 305 (Minn. 1996).

Independent Cause of Action: Yes. See, e.g., Acton Const. Co. v. State, 383 N.W.2d 416, 417 (Minn.

App. 1986).

SOL: 6 years. Block v. Litchy, 428 N.W.2d 850, 854 (Minn. App. 1988).




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                                           22. MISSISSIPPI

Unjust Enrichment: “The doctrine of unjust enrichment or recovery in quasi contract applies to

situations where there is no legal contract but where the person sought to be charged is in possession of

money or property which in good conscience and justice he should not retain but should deliver to

another, the courts imposing a duty to refund the money or the use value of the property to the person to

whom in good conscience it ought to belong.” Barriffe v. Estate of Nelson, 153 So. 3d 613, 627-628

(Miss. 2014) (citing Dew v. Langford, 666 So. 2d 739, 745 (Miss. 1995); Hans v. Hans, 482 So. 2d 1117,

1122 (Miss. 1986)).

Adoption of Restatement: “The principle of restitution is that a person who has been unjustly enriched at

the expense of another is required to make restitution to that other. Restatement of Restitution, § 1…”

Fourth Davis Island Land Co. v. Parker, 469 So. 2d 516, 524 (Miss. 1985).

Adequate Remedy at Law: “Unjust enrichment applies in situations where no legal contract exists.”

Willis v. Rehab Solutions, PLLC, 82 So. 3d 583, 588 (Miss. 2012).

Independent Cause of Action: Yes. See, e.g., SKL Invs., Inc. v. Hardin, 170 So. 3d 588, 590 (Miss. App.

2014); see also Forbes v. Hixson (In re Estate of St. Martin), 145 So. 3d 1124, 1141 (Miss. 2014) (J.

Dickinson dissenting).

SOL: 3 years. “Section 15-1-49 is the controlling statute of limitations which applies to claims of …

unjust enrichment….” Anderson v. LaVere, 136 So. 3d 404, 411 (Miss. 2014).




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                                              23. MISSOURI

Elements of Unjust Enrichment: “Quantum meruit is a remedy for the enforcement of a quasi-

contractual obligation and is generally based on the principle of unjust enrichment. The essential elements

of a quasicontract or quantum meruit claim are (1) benefit conferred by one party on another, (2)

appreciation or recognition by the receiving party of the fact that what was conferred was a benefit, and

(3) acceptance and retention of the benefit in circumstances that would render that retention inequitable.”

Lucent Techs., Inc. v. Mid-West Elecs., Inc., 49 S.W.3d 236, 241 (Mo. App. 2001) (quotation marks

omitted).

Adoption of Restatement: See Embry v. Estate of Martz, 377 S.W.2d 367, 371 (Mo. 1964); see also

Petrie v. LeVan, 799 S.W.2d 632, 635 (Mo. App. 1990) (“The right to restitution for unjust enrichment

presupposes: (1) that the defendant was enriched by the receipt of a benefit; (2) that the enrichment was at

the expense of the plaintiff; (3) that it would be unjust to allow the defendant to retain the benefit.”)

(citing Restatement (First) of Restitution (1937)).

Adequate Remedy at Law: “If the plaintiff has entered into an express contract for the very subject

matter for which he seeks recovery, unjust enrichment does not apply, for the plaintiff's rights are limited

to the express terms of the contract. Howard v. Turnbull, 316 S.W.3d 431, 436 (Mo. App. 2010).

Independent Cause of Action: Yes. See, e.g., Royal Forest Condo. Owners' Ass'n v. Kilgore, 416

S.W.3d 370, 373 (Mo. App. 2013).

SOL: 5 years. “Section 516.120(1) provides a five-year statute of limitations for ‘[a]ll actions upon

contracts, obligations or liabilities, express or implied . . . .’ An action for unjust enrichment is based on

an implied or quasi-contractual obligation.” Royal Forest Condo. Owners' Ass'n v. Kilgore, 416 S.W.3d

370, 373 (Mo. App. 2013).




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                                              24. NEBRASKA

Elements of Unjust Enrichment: “To recover on a claim of unjust enrichment, the plaintiff must show

that (1) the defendant received money, (2) the defendant retained possession of the money, and (3) the

defendant in justice and fairness ought to pay the money to the plaintiff.” Kanne v. Visa U.S.A. Inc., 272

Neb. 489, 501 (Neb. 2006).

Adoption of Restatement: “The fact that a recipient has obtained a benefit without paying for it does not

of itself establish that the recipient has been unjustly enriched. It is a bedrock principle of restitution that

unjust enrichment occurs when there has been a transfer of a benefit without adequate legal ground.

Unjust enrichment is a malleable concept and available in a variety of situations. However, the

Restatement (Third) of Restitution and Unjust Enrichment makes it clear that restitution is not available

for an unrequested benefit voluntarily conferred, unless the circumstances of the transaction justify the

claimant's intervention in the absence of [a] contract.” Kalkowski v. Neb. Nat'l Trails Museum Found.

Inc., 290 Neb. 798 (Neb. 2015).

Adequate Remedy at Law: “The doctrine of unjust enrichment is recognized only in the absence of an

agreement between the parties.” Washa v. Miller, 249 Neb. 941, 950 (Neb. 1996).

Independent Cause of Action: See, e.g., Paltani v. Ltd. Fill Corp., 2011 Neb. App. LEXIS 95, *12-13

(Neb. App. 2011); Kalkowski v. Neb. Nat'l Trails Museum Found. Inc., 290 Neb. 798 (Neb. 2015);

LaGrange v. LaGrange, 2008 Neb. App. LEXIS 62, *9 (Neb. App. March 18, 2008).

SOL: 4 years. “Thus, regardless of whether we apply Neb. Rev. Stat. § 25-212 (Reissue 2008), as cited

by [the defendant], or Neb. Rev. Stat. § 25-206 (Reissue 2008), as urged by [the plaintiff], the result is the

same—the statute of limitations is 4 years.” Paltani v. Ltd. Fill Corp., 2011 Neb. App. LEXIS 95, *12-13

(Neb. App. 2011).




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                                               25. NEVADA

Unjust Enrichment: “This court has observed that the essential elements of unjust enrichment are a

benefit conferred on the defendant by the plaintiff, appreciation by the defendant of such benefit, and

acceptance and retention by the defendant of such benefit.” Topaz Mut. Co. v. Marsh, 839 P.2d 606, 613

(Nev. 1992) (quotation marks omitted).

Adoption of Restatement: “The obligation of vendors to make restitution, as found by the trial court, did

not rest upon any agreement express or implied in fact. The obligation, if it exists, exists by virtue of a

contract implied in law, a quasicontract imposed to prevent the unjust enrichment of the vendors at the

expense of the purchaser. See: Restatement Of The Law, Restitution, sec. 1.” Mikulich v. Diltz, 71 Nev.

115 (Nev. 1955).

Adequate Remedy at Law: “Because [the plaintiff’s] unjust enrichment claim was based on the same

subject matter as the express contract and was not separate and distinct, we conclude that the district court

properly granted summary judgment for [the defendant] on the unjust enrichment claim.” Rhodes v.

Designer Distrib. Servs., LLC, 2012 Nev. Unpub. LEXIS 278, *7-8 (Nev. 2012) (citing Lipshie v. Tracy

Investment Co., 39 Nev. 370, 379, 566 P.2d 819, 824 (Nev. 1977)).

Independent Cause of Action: Yes. See, e.g., Las Vegas Fetish & Fantasy Halloween Ball, Inc. v. Ahern

Rentals, Inc., 124 Nev. 272, 275 (Nev. 2008); Certified Fire Prot. Inc. v. Precision Constr. Inc., 128 Nev.

371, 380 (Nev. 2012).

SOL: 4 years. “The statute of limitation for an unjust enrichment claim is four years.” Kahn v. Dodds (In

re AMERCO Derivative Litig.), 127 Nev. 196, 228 (Nev. 2011).




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                                        26. NEW HAMPSHIRE

Unjust Enrichment: “The doctrine of unjust enrichment is that one shall not be allowed to profit or

enrich himself at the expense of another contrary to equity. To state a claim, a plaintiff must sufficiently

allege that the defendant was enriched at the plaintiff's expense through either: (1) wrongful acts; or (2)

passive acceptance of a benefit that would be unconscionable to retain.” Estate of Mortner v. Thompson,

182 A.3d 1260, 1265 (N.H. 2018) (citing Pella Windows and Doors v. Faraci, 133 N.H. 585, 586, 580

A.2d 732 (N.H. 1990); Kowalski v. Cedars of Portsmouth Condo. Assoc., 146 N.H. 130, 133, 769 A.2d

344 (N.H. 2001)).

Adoption of Restatement: “To entitle one to restitution, it must be shown that there was unjust

enrichment either through wrongful acts or passive acceptance of a benefit that would be unconscionable

to retain. Restatement of Restitution § 1 (1937)…” Nute v. Blaisdell, 117 N.H. 228, 232 (N.H. 1977).

Adequate Remedy at Law: “It is a well-established principle that the court ordinarily cannot allow

recovery under a theory of unjust enrichment where there is a valid, express contract covering the subject

matter at hand.” Clapp v. Goffstown Sch. Dist., 159 N.H. 206, 210-211 (N.H 2009).

Independent Cause of Action: Perhaps no. See Gen. Insulation Co. v. Eckman Constr., 159 N.H. 601,

992 A.2d 613, 621 (N.H. 2010) (“[U]njust enrichment generally does not form an independent basis for a

cause of action”); but see General Warranty Servs., Inc. v. Warranty Admin. Servs., Inc., 2011 N.H.

Super. LEXIS 53, *14 (N.H. Super. 2011) (“[U]njust enrichment could theoretically form an independent

cause of action….”).

SOL: 3 years. Singer Asset Fin. Co., LLC v. Wyner, 156 N.H. 468, 477 (N.H. 2007); Brewer v. Mas-Con

Corp., 2011 N.H. Super. LEXIS 69, *12 (N.H Super. Oct. 19, 2011); McKenzie v. Burns, 2007 N.H.

Super. LEXIS 49, *6 (N.H. Super. Nov. 20, 2007) (each applying 3-year SOL under RSA 508:4).




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                                           27. NEW JERSEY

Elements of Unjust Enrichment: “To establish unjust enrichment, a plaintiff must show both that

defendant received a benefit and that retention of that benefit without payment would be unjust. The

unjust enrichment doctrine requires that plaintiff show that it expected remuneration from the defendant at

the time it performed or conferred a benefit on defendant and that the failure of remuneration enriched

defendant beyond its contractual rights.” VRG Corp. v. GKN Realty Corp., 641 A.2d 519, 526 (N.J. 1994)

(internal citations omitted).

Adoption of Restatement: “[A] person who has been unjustly enriched at the expense of another is

required to make restitution to the other.” New Jersey Election Law Enforcement Comm'n v. James, 2015

N.J. Super. Unpub. LEXIS 90, *21 (N.J. App. January 16, 2015) (citing Thompson v. City of Atlantic

City, 190 N.J. 359, 383, 921 A.2d 427 (N.J. 2007) (quoting Restatement (First) of Restitution § 1

(1937))).

Adequate Remedy at Law: “[Q]uasi-contract liability should not be imposed if an express contract

exists concerning the identical subject matter.” Shalita v. Township of Washington, 636 A.2d 568, 571

(N.J. App 1994).

“Restitution for unjust enrichment is an equitable remedy, available only when there is no adequate

remedy at law.” Duffy v. Charles Schwab & Co., Inc., 123 F.Supp.2d 802, 814 (D.N.J. 2000).

Independent Cause of Action: Yes. See Castro v. NYT Television, 370 N.J. Super. 282, 851 A.2d 88, 98

(N.J. Super. Ct. App. Div. 2004) (“[s]uch liability will be imposed only if plaintiff expected remuneration

from the defendant, or if the true facts were known to plaintiff, he would have expected remuneration

from the defendant, at the time the benefit was conferred.”)).

SOL: 6 years. See Kopin v. Orange Products, Inc., 297 N.J. Super. 353, 373 (N.J. Super. 1997) (applying

N.J.S.A. 2A:14-1) (citing German v. Pope John Paul, II, 211 A.D.2d 456, 621 N.Y.S.2d 311, 312 (1995).




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                                           28. NEW MEXICO

Elements of Unjust Enrichment: “Unjust enrichment exists when one party knowingly benefits at

another’s expense and allowing that party to retain the benefit would be unjust.” Romero v. The Bank of

the Southwest, 83 P.3d 288, 296 (N.M. Ct. App. 2003).

Adoption of Restatement: “There is no question that ‘a person who has been unjustly enriched at the

expense of another is required to make restitution to the other.’” Sunwest Bank, N.A. v. Colucci, 117 N.M.

373, 375 (N.M. 1994) (citing Restatement of Restitution § 1 (1937)); see also Hydro Conduit Corp. v.

Kemble, 110 N.M. 173, 175, 793 P.2d 855, 857 (N.H. 1990).

Adequate Remedy at Law: “We agree with [the defendant] that the unit operating agreement was an

express contract. We also agree that the contract was to be enforced as written in regard to contractual

obligations of the parties unless the court determined that equity should override the express contract. A

court of equity is bound by a contract as the parties have made it and has no authority to substitute for it

another and different agreement, and should afford relief only where obviously there is fraud, real

hardship, oppression, mistake, unconscionable results, and the other grounds of righteousness, justice and

morality.” Arena Res., Inc. v. OBO, Inc., 148 N.M. 483, 487 (N.M. App 1990).

Independent Cause of Action: “New Mexico law recognizes such a cause of action.” Hydro Conduit

Corp. v. Kemble, 110 N.M. 173, 175, 793 P.2d 855, 857 (N.H. 1990) (citing Terry v. Pipkin, 66 N.M. 4,

340 P.2d 840 (1959)).“We have no disagreement with the scholarly view that restitution for unjust

enrichment constitutes an independent basis for recovery in a civil-law action, analytically and

historically distinct from the other two principal grounds for such liability, contract and tort. It has been

traditional to regard tort and contract as the two principal sources of civil liability at common law….

There is another category that must be separated from all of these; this is liability based in unjust

enrichment. In particularized form this has been a part of our law from an early time, but it has been slow

to emerge as a general theory. In present American law, however, the idea of unjust enrichment has been



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generally accepted and widely applied.” Id.

SOL: 4 years. See McNeill v. Rice Eng'g & Operating, Inc., 148 N.M. 16, 20 (N.M. 2000) (applying

NMSA 1978, § 37-1-4).




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                                             29. NEW YORK

Elements of Unjust enrichment: “To prevail on a claim of unjust enrichment, plaintiff must show that

(1) defendant was enriched (2) at plaintiff's expense, and (3) that ‘it is against equity and good conscience

to permit … defendant to retain what is sought to be recovered.’” Lake Minnewaska Mountain Houses,

Inc. v. Rekis, 259 A.D.2d 797, 798 (N.Y. A.D. 1999).

Adoption of Restatement: “An unjust enrichment claim rests upon the equitable principle that a person

shall not be allowed to enrich himself unjustly at the expense of another.” IDT Corp. v. Morgan Stanley

Dean Witter & Co., 12 N.Y.3d 132, 142 (N.Y. 2009) (internal quotes omitted) (citing Restatement).

Adequate Remedy at Law: “[S]ince the matters here in dispute are governed by an express contract,

defendant's counterclaim for unjust enrichment was properly found untenable.” Scavenger, Inc. v. GT

Interactive Software Corp., 734 N.Y.S.2d 141, 142 (N.Y. A.D. 2001).

“As to plaintiffs' third cause of action for unjust enrichment, this action does not lie as plaintiffs have an

adequate remedy at law and therefore this claim was likewise properly dismissed.” Samiento v. World

Yacht Inc., 883 N.E.2d 990 (N.Y. 2008).

Independent Cause of Action: Yes. See, e.g., Lake Minnewaska Mountain Houses, Inc. v. Rekis, 259

A.D.2d 797, 798 (N.Y. A.D. 1999).

SOL: 6 years. Elliott v. Qwest Commc'ns Corp., 25 A.D. 3d 897, 898 (N.Y. A.D. 2006).




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                                        30. NORTH CAROLINA

Elements of Unjust Enrichment: “In order to recover on a claim of unjust enrichment, a party must

prove that it conferred a benefit on another party, that the other party consciously accepted the benefit,

and that the benefit was not conferred gratuitously or by an interference in the affairs of the other party.”

Southeastern Shelter Corp. v. BTU, Inc., 572 S.E.2d 200, 206 (N.C. App. 2002).

Adoption of Restatement: “‘A person who has been unjustly enriched at the expense of another is

required to make restitution to the other.’ Booe v. Shadrick, 322 N.C. 567, 570, 369 S.E.2d 554, 555-56,

reh'g denied, 323 N.C. 370, 373 S.E.2d 540 (1988) (quoting the Restatement of Restitution § 1 (1937)).

‘A person entitled to restitution is entitled, in an appropriate case, to a remedy by a proceeding in equity.’

Restatement of Restitution § 160 introductory note (1937). Such remedies include decrees establishing

and enforcing a constructive trust upon property, a constructive lien upon property, or the plaintiff's

subrogation to the position of another against the defendant. Id. An equitable lien arises ‘[w]here property

of one person can by a proceeding in equity be reached by another as security for a claim on the ground

that otherwise the former would be unjustly enriched.’ Restatement of Restitution § 161 (1937). ‘Where

the equitable lien is on a fund, for example a bank deposit, it is enforced by a direction to pay the claimant

out of the fund.’ Id.” Embree Constr. Group, Inc. v. Rafcor, Inc., 330 N.C. 487, 496 (N.C. 1992); see also

Booe v. Shadrick, 322 N.C. 567, 570 (N.C. 1988) (“The Restatement of Restitution § 1 lays down the

general principle that ‘[a] person who has been unjustly enriched at the expense of another is required to

make restitution to the other.’”).

Adequate Remedy at Law: “Only in the absence of an express agreement of the parties will courts

impose a quasi contract or a contract implied in law in order to prevent an unjust enrichment.” Whitfield v.

Gilchrist, 348 N.C. 39, 42, 497 S.E.2d 412, 415 (N.C. 1998).

“The court's equitable intervention is obviated when an adequate remedy at law is available to the

plaintiff.” Embree Constr. Group, Inc. v. Rafcor, Inc., 330 N.C. 487, 491 (N.C. 1992).



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Independent Cause of Action: Yes. See, e.g., Clontz v. Clontz, 44 N.C. App. 573, 578 (N.C. App. 1980).

SOL: 3 years. “A claim for unjust enrichment must be brought within three years of accrual under

subsection 1 of section 1-52.” Stratton v. Royal Bank of Can., 211 N.C. App. 78, 85 (N.C. App. 2011)

(citing Housecalls Home Health Care, Inc. v. State, 200 N.C. App. 66, 682 S.E.2d 741, 744 (N.C. App.

2009) (citing N.C. Gen. Stat. § 1-52(1), (4))).




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                                                 31. OHIO

Elements of Unjust Enrichment: “[T]his court [has] observed that liability in quasi-contract arises out

of the obligation cast by law upon a person in receipt of benefits which he is not justly entitled to retain

…. The court of appeals in this case listed the elements of quasi-contract as follows: (1) a benefit

conferred by a plaintiff upon a defendant; (2) knowledge by the defendant of the benefit; and (3) retention

of the benefit by the defendant under circumstances where it would be unjust to do so without payment

(unjust enrichment).” Hambleton v. R.G. Barry Corp., 465 N.E.2d 1298, 1302 (Ohio 1984).

Adoption of Restatement: “The general rule of unjust enrichment is stated in the Restatement, Law of

Restitution, sec. 1, p. 12. ‘A person who has been unjustly enriched at the expense of another is required

to make restitution to the other.’” Dixon v. Smith, 119 Ohio App. 3d 308, 317 (Ohio Ct. App. 1997); see

also Cincinnati v. Cincinnati Dist. Council 51, 35 Ohio St. 2d 197, 214 (Ohio 197).

Adequate Remedy at Law: “In the absence of fraud or bad faith, a person is not entitled to compensation

on the ground of unjust enrichment if he received from the other what it was agreed between them the

other should give in return.” Prudential Ins. Co. v. Eslick, 586 F. Supp. 763, 768 (S.D. Ohio 1984) (citing

Ullmann v. May, 147 Ohio St. 468, 72 N.E.2d 63 (Ohio 1947).

“[W]here damages may be available for breach of contract or in tort, a plaintiff cannot also invoke the

equitable remedy for unjust enrichment.” RFC Capital Corp. v. EarthLink, Inc., 2004-Ohio-7046, P80

(Ohio App. 2004).

Independent Cause of Action: Yes. See City of Cleveland v. Ohio Bureau of Workers' Comp., 2018-

Ohio-846, P82 (Ohio App. 2018).

SOL: 6 years. “A six-year statute of limitations applies to claims for unjust enrichment.” City of

Cleveland v. Ohio Bureau of Workers' Comp., 2018-Ohio-846, P82 (Ohio App. 2018) (citing Hambleton

v. R.G. Barry Corp., 12 Ohio St.3d 179, 183, 12 Ohio B. 246, 465 N.E.2d 1298 (Ohio 1984).




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                                            32. OKLAHOMA

Elements of Unjust Enrichment: “A right of recovery under the doctrine of unjust enrichment is

essentially equitable, its basis being that in a given situation it is contrary to equity and good conscience

for one to retain a benefit which has come to him at the expense of another.” Lapkin v. Garland

Bloodworth, Inc., 23 P.3d 958, 961 (Okla. Civ. App. 2000). “Unjust enrichment is a condition which

results from the failure of a party to make restitution in circumstances where it is inequitable; i.e. the party

has money in its hands that, in equity and good conscience, it should not be allowed to retain. Where the

plaintiff has an adequate remedy at law, the court will not ordinarily exercise its equitable jurisdiction to

grant relief for unjust enrichment.” Harvell v. Goodyear Tire & Rubber Co., 2006 OK 24, P18, 164 P.3d

1028, 1035 (Okla. 2006).

Adoption of Restatement: “Restatement, Restitution, § 1 (1937) provides: ‘A person who has been

unjustly enriched at the expense of another is required to make restitution to the other.’” Stites v. Duit

Constr. Co., 1995 OK 69, P20 (OK 1995); see also Warren v. Century Bankcorporation, Inc., 1987 OK

14, 741 P.2d 846, 852 (Okla. 1987).

Adequate Remedy at Law: “Where the plaintiff has an adequate remedy at law, the court will not

ordinarily exercise its equitable jurisdiction to grant relief for unjust enrichment.” Harvell v. Goodyear

Tire & Rubber Co., 2006 OK 24, P18 (Okla. 2006).

Independent Cause of Action: Yes. See, e.g., Lapkin v. Garland Bloodworth, Inc., 23 P.3d 958, 961

(Okla. Civ. App. 2000).

SOL: 2 years. “The limitation period for the underlying proposed unjust enrichment claim in the instant

case is governed by 12 O.S. Supp. 2002 §95 which provides: Civil actions other than for the recovery of

real property can only be brought within the following periods, after the cause of action shall have

accrued, but not afterwards: . . . 3. Within two (2) years….” City of Tulsa v. Bank of Okla., N.A., 2011 OK

83, P20 (Okla. 2011).


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                                                33. OREGON

Unjust Enrichment: “To establish unjust enrichment, plaintiff must offer evidence that (1) plaintiff

conferred a benefit on defendant; (2) defendant was aware that it had received a benefit; and (3) under the

circumstances it would be unjust for defendant to retain the benefit without paying for it.” Volt Servs.

Group v. Adecco Employment Servs., Inc., 35 P.3d 329, 337 (Or. Ct. App. 2001).

Adoption of Restatement: “In the context of an unjust enrichment claim, the Oregon Supreme Court has

defined a ‘benefit’ broadly, citing the Restatement of Restitution § 1 (1937). Farmer v. Groves, 276 Or

563, 568, 555 P2d 1252 (1976). Comment b to § 1 of the Restatement explains: ‘A person confers a

benefit upon another if [the person] gives to the other possession of or some other interest in money,

land, chattels, or choses in action, performs services beneficial to or at the request of the other, satisfies a

debt or a duty of the other, or in any way adds to the other's security or advantage. [The person] confers a

benefit not only where [the person] adds to the property of another, but also where [the person] saves the

other from expense or loss. The word benefit, therefore, denotes any form of advantage.’” Wilson v.

Gutierrez, 261 Ore. App. 410, 414-415 (Or. App. 2014).

Adequate Remedy at Law: “[U]ltimately there cannot be a valid legally enforceable contract and an

implied contract covering the same services.” Prestige Homes Real Estate Co. v. Hanson, 151 Ore. App.

756, 762 (Or. App. 1997).

Independent Cause of Action: Yes. See, e.g., Hoag Living Trust v. Hoag, 292 Ore. App. 34, 48 (Or.

App. 2018); Wilson v. Gutierrez, 261 Ore. App. 410, 414-415 (Or. App. 2014).

SOL: 6 years. “It follows that Jay's unjust enrichment and quantum meruit counterclaims would not be

barred by an analogous six-year statute of limitations. See ORS 12.080(1) (six-year limitation for express

or implied contracts).” Hoag Living Trust v. Hoag, 292 Ore. App. 34, 48 (Or. App. 2018).




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                                         34. PENNSYLVANIA

Unjust Enrichment: “The elements of unjust enrichment are benefits conferred on defendant by plaintiff,

appreciation of such benefits by defendant, and acceptance and retention of such benefits under such

circumstances that it would be inequitable for defendant to retain the benefit without payment of value.”

AmeriPro Search, Inc. v. Fleming Steel Co., 787 A.2d 988, 991 (Pa. Super. 2001) (internal quotes

omitted).

Adoption of Restatement: “As this Court has recognized, the doctrine of unjust enrichment contemplates

that ‘[a] person who has been unjustly enriched at the expense of another must make restitution to the

other.’” Wilson Area Sch. Dist. v. Skepton, 586 Pa. 513, 520 (Pa. 2006) (citing Binns v. First National

Bank of California, Pennsylvania, 367 Pa. 359, 80 A.2d 768, 775 (Pa. 1951) (citing Restatement)).

Adequate Remedy at Law: “it has long been held in this Commonwealth that the doctrine of unjust

enrichment is inapplicable when the relationship between parties is founded upon a written agreement or

express contract….” Wilson Area Sch. Dist. v. Skepton, 586 Pa. 513, 520 (Pa. 2006) (citing Third

National & Trust Company of Scranton v. Lehigh Valley Coal Company, 353 Pa. 185, 44 A.2d 571, 574

(Pa. 1945)).

Independent Cause of Action: Yes. See, e.g., Meehan v. Cheltenham Township, 189 A.2d 593, 595 (Pa.

1963); see also Borough of Shippensburg v. Kelley, 2006 Pa. Dist. & Cnty. Dec. LEXIS 563, *14 (Pa. Ct.

Com. Pl Sept. 15, 2006) (“Breach of implied contract is an independent cause of action.”).

SOL: 4 years. “The cause of action which Appellee brought before the court is based upon a theory of

unjust enrichment. According to statute, there is a four-year statute of limitations for such causes of

action.” Sevast v. Kakouras, 591 Pa. 44, 915 A.2d 1147, 1153 (Pa. 2007).




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                                          35. RHODE ISLAND

Unjust Enrichment: “A plaintiff is required to prove three elements: (1) a benefit must be conferred

upon the defendant by the plaintiff, (2) there must be appreciation by the defendant of such benefit, and

(3) there must be an acceptance of such benefit in such circumstances that it would be inequitable for a

defendant to retain the benefit without paying the value thereof.” Narragansett Elec. Co. v. Carbone, 898

A.2d 87, 99 (R.I. 2006).

Adoption of Restatement: “Liability in restitution derives from the receipt of a benefit whose retention

without payment would result in the unjust enrichment of the defendant at the expense of the claimant.

Once liability is established, the defendant must restore the benefit in question or its traceable product, or

else pay money in the amount necessary to eliminate unjust enrichment.” Zambarano v. Ret. Bd. of the

Emples. Ret. Sys., 61 A.3d 432, 438 (R.I. 2015) (citing Restatement (Third) Restitution and Unjust

Enrichment § 1 cmt. a. at 3 (2011)).

Adequate Remedy at Law: “Because unjust enrichment is a quasi-contractual remedy, it is "ordinarily

unavailable when a valid and enforceable written contract governing the same subject matter exists.”

Tantara Corp. v. Bay St. Neighborhood Ass'n, LLC, 2012 R.I. Super. LEXIS 155, *10-11 (R.I. Super.

2010).

Independent Cause of Action: “Under Rhode Island law, unjust enrichment is not simply a remedy in

contract and tort but can stand alone as a cause of action in its own right.” Dellagrotta v. Dellagrotta, 873

A.2d 101, 113 (R.I. 2005).

SOL: 10 years. See Hauser v. Davis, 2000 R.I. Super. LEXIS 77, *10 (R.I Super. Dec. 21, 2000)

(applying 3-year SOL under § 9-1-25 because the unjust enrichment sounded in tort, i.e. trespass, but

holding an unjust enrichment claim based on quasi-contract would be subject to a 10-year SOL under

§ 9-1-13) (citing Hurdis Realty, Inc. v. Town of North Providence, 121 R.I. 275, 397 A.2d 896 (R.I.

1979)).


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                                        36. SOUTH CAROLINA

Unjust Enrichment: “Quantum meruit is an equitable doctrine which allows recovery for unjust

enrichment under a quasi-contract theory. Columbia Wholesale Co. v. Scudder May N.V., 312 S.C. 259,

261, 440 S.E.2d 129, 130 (1994). ‘The elements of a quantum meruit claim are: (1) a benefit conferred

upon the defendant by the plaintiff; (2) realization of that benefit by the defendant; and (3) retention by

the defendant of the benefit under conditions that make it unjust for him to retain it without paying its

value.’ Earthscapes Unlimited, Inc. v. Ulbrich, 390 S.C. 609, 616-17, 703 S.E.2d 221, 225 (2010).”

Stevens & Wilkinson of S.C., Inc. v. City of Columbia, 409 S.C. 568, 583 (S.C. 2014).

Adoption of Restatement: “Restatement, Restitution, 1(a) speaks of unjust enrichment as follows: ‘A

person is unjustly enriched if the retention of the benefit would be unjust.’” Duckworth v. First Nat'l

Bank, 254 S.C. 563, 576 (S.C. 1970).

Adequate Remedy at Law: “Accordingly, equity is generally only available when a party is without an

adequate remedy at law.” Nutt Corp. v. Howell Rd., LLC, 396 S.C. 323, 327 (S.C. 2011) (citing Ellis Don

Constr., Inc. v. Clemson Univ., 391 S.C. 552, 555, 707 S.E.2d 399, 401 (S.C. 2011)).

Independent Cause of Action: Yes. See, e.g. Earthscapes Unlimited, Inc. v. Ulbrich, 390 S.C. 609, 616-

17, 703 S.E.2d 221, 225 (S.C. 2010).

SOL: 3 years. See Majstorich v. Gardner, 361 S.C. 513 (S.C. App. 2004); Graham v. Welch, 404 S.C.

235, 239 (S.C. App. 2013) (both applying S.C. Code Ann. § 15-3-530).




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                                         37. SOUTH DAKOTA

Unjust Enrichment: “"When a party confers a benefit upon another party who accepts [or] acquiesces in

that benefit and it is inequitable to receive that benefit without paying therefore, a contract will be implied

between the parties." Amert Const., 331 N.W.2d at 310. [***11] (citations omitted). For Action

Mechanical and H &N to prevail on the claim of unjust enrichment they must show: (1) Four Square

received a benefit; (2) Four Square was aware it was receiving a benefit; and, (3) Four Square retained

that benefit without reimbursement. Juttelstad v. Juttelstad, 1998 SD 121, P19, 587 N.W.2d 447, 451.”

Action Mech., Inc. v. Deadwood Historic Pres. Comm'n, 652 N.W.2d 742, 750 (S.D. 2002).

Adoption of Restatement: “The Restatement of Restitution declares that ‘[a] person who has been

unjustly enriched at the expense of another is required to make restitution to the other.’ Restatement of

Restitution § 1 (1937). The comment to this section explains that ‘[a] person is enriched if he has received

a benefit. A person is unjustly enriched if the retention of the benefit would be unjust.’ Restatement of

Restitution § 1 cmt. a (1937).” Hofeldt v. Mehling, 2003 SD 25, 658 N.W.2d 783, 788 (S.D. 2003); see

also Dowling Family P'ship v. Midland Farms, LLC, 2015 SD 50, 865 N.W.2d 854, 863 (S.D. 2015).

Adequate Remedy at Law: “[Q]uantum meruit does not provide a basis for recovery when a valid

express contract exists between the parties, fixing the rights of each.” Mooney's, Inc. v. South Dakota

Dep't of Transp., 482 N.W.2d 43, 47 (S.D. 1992).

Independent Cause of Action: Yes. See, e.g., Action Mech., Inc. v. Deadwood Historic Pres. Comm'n,

652 N.W.2d 742, 750 (S.D. 2002).

SOL: 6 years. See Meyer v. Kneip, 457 N.W.2d 463, 466 (S.D. App. 1990) (applying SDCL 15-2-13).




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                                            38. TENNESSEE

Unjust Enrichment: “The elements of an unjust enrichment claim are: 1) a benefit conferred upon the

defendant by the plaintiff; 2) appreciation by the defendant of such benefit; and 3) acceptance of such

benefit under such circumstances that it would be inequitable for him to retain the benefit without

payment of the value thereof. The most significant requirement of an unjust enrichment claim is that the

benefit to the defendant be unjust. The plaintiff must further demonstrate that he or she has exhausted all

remedies against the person with whom the plaintiff enjoyed privity of contract.” Freeman Industries,

LLC v. Eastman Chemical Co., 172 S.W.3d 512, 525 (Tenn. 2005).

Adoption of Restatement: See Isaacs v. Bokor, 566 S.W.2d 532 , 540 (Tenn. 1978); see also Estate of

Cleveland v. Gorden, 837 S.W.2d 68, 70 (Tenn. Ct. App. 1992).

Adequate Remedy at Law: To prevail on a claim of unjust enrichment or quantum meriut “there must be

no existing, enforceable contract between the parties covering the same subject matter.” Mills v. Mills,

2015 Tenn. App. LEXIS 504, *35 (Tenn. App. 2015).

Independent Cause of Action: Yes. See River Park Hosp., Inc. v. Bluecross Blueshield of Tenn., Inc.,

173 S.W.3d 43 (Tenn. App. 2002).

SOL: 6 years. See Kaddoura v. Chattanooga-Hamilton Cnty. Hosp. Auth., 2015 Tenn. App. LEXIS 264,

*9 (Tenn. App. 2015) (applying Tenn. Code Ann. § 28-3-109(a)(3)).




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                                                 39. TEXAS

Elements of Unjust Enrichment: “An action for money had and received may be maintained to prevent

unjust enrichment when one person obtains money that in equity and good conscience belongs to

another.” Friberg-Cooper Water Supply Corp. v. Elledge, 197 S.W.3d 826, 831 (Tex. Ct. App. 2006).

Adoption of Restatement: “Restitution is rooted in principles of unjust enrichment. See

RESTATEMENT § 1 (‘A person who has been unjustly enriched at the expense of another is required to

make restitution to the other.’); RESTATEMENT (THIRD) § 1 (Discussion Draft 2000) (‘A person who

is unjustly enriched at the expense of another is liable in restitution to the other.’). While the law of

restitution recognizes a defense based on change of position, the defense generally applies only to the

extent that restitution would cause loss to an innocent party, not the judgment creditor. See, e.g.,

RESTATEMENT § 142, cmt. f (recognizing change of circumstances defense and providing that ‘[i]f part

of the subject matter is lost or destroyed, the recipient still has a duty of making restitution of the

remainder’); see also id. § 74, cmt. c (providing ‘[n]or is change of position a defense to the creditor’).”

Miga v. Jensen, 299 S.W.3d 98, 105 (Tex. 2009).

Adequate Remedy at Law: “Generally speaking, when a valid, express contract covers the subject

matter of the parties' dispute, there can be no recovery under a quasi-contract theory.” Fortune Prod. Co.

v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000).

“[A]n adequate legal remedy may render equitable claims of unjust enrichment and equitable defenses of

voluntary-payment unavailable.” BMG Direct Mktg. v. Peake, 178 S.W.3d 763 (Tex. 2005).

Independent Cause of Action: Yes. See Perales v. Bank of Am., N.A., No. H-14-1791, 2014 U.S. Dist.

LEXIS 111563, 2014 WL 3907793, at *3 (S.D. Tex. Aug. 11, 2014).(“the elements are clear. . . . [u]just

enrichment is an implied-contract basis for requiring restitution when it would be unjust to retain benefits

received.”)).




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SOL: 2 years. “Even without the benefit of our prior decisions, we would conclude that unjust enrichment

claims should fall under the two-year statute.” Elledge v. Friberg-Cooper Water Supply Corp., 240

S.W.3d 869, 870 (Tex. 2007) (citing Tex. Civ. Orac. & Rem. Code § 16.003(a)).




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                                                  40. UTAH

Elements of Unjust Enrichment: “In order to prevail on a claim for unjust enrichment, three elements

must be met. First, there must be a benefit conferred on one person by another. Second, the conferee must

appreciate or have knowledge of the benefit. Finally, there must be the acceptance or retention by the

conferee of the benefit under such circumstances as to make it inequitable for the conferee to retain the

benefit without payment of its value.” Desert Miriah, Inc. v. B & L Auto, Inc., 12 P.3d 580, 582 (Utah

2000) (internal quotes and citations omitted).

Adoption of Restatement: “Restatement, Restitution, Sec. 1, provides: A person who has been unjustly

enriched at the expense of another is required to make restitution to the other. Comment c., states: Even

where a person has received a benefit from another, he is liable to pay therefor only if the circumstances

of its receipt or retention are such that, as between the two persons, it is unjust for him to retain it. The

mere fact that a person benefits another is not of itself sufficient to require the other to make restitution

therefor . . . . The Restatement of this subject states the rules by which it is determined whether or not it is

considered to be just to require restitution.” Harline v. Daines, 567 P.2d 1120, 1123 (Utah 1977).

Adequate Remedy at Law: “[I]f a legal remedy is available, such as breach of an express contract, the

law will not imply the equitable remedy of unjust enrichment.” American Towers Owners Ass'n v. CCI

Mech., 930 P.2d 1182, 1193 (Utah 1996) (citing Mann v. American W. Life Ins. Co., 586 P.2d 461, 465

(Utah 1978)).

Independent Cause of Action: Yes. Rawlings v. Rawlings, 2010 UT 52, P51 (Utah 2010) (“[E]ven if the

[plaintiffs] have failed to prove the existence of an oral express trust in this case … they were still free to

pursue their claim of unjust enrichment as an independent cause of action.”).

SOL: 4 years. “A claim for unjust enrichment is subject to a four-year statute of limitations.” Sumsion v.

Bay Harbor Farm, LC, 2018 UT App 114, P39 (Utah App. 2018) (applying Utah Code Ann. § 78B-2-

307(3)).


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                                             41. VERMONT

Elements of Unjust Enrichment: “Unjust enrichment is present only if: (1) a benefit was conferred on

defendant; (2) defendant accepted the benefit; and (3) defendant retained the benefit under such

circumstances that it would be inequitable for defendant not to compensate plaintiff for its value. Mad

River Corp., 151 Vt. at 412, 561 A.2d at 93.” Kellogg v. Shushereba, 2013 VT 76, P31 (Vt. 2013).

Adoption of Restatement: See Center v. Mad River Corp., 151 Vt. 408, 410 (Vt. 1989).

Adequate Remedy at Law: “In addition, because there was an express contract between the parties

setting forth the terms of plaintiff's employment, there could be no implied contract on the subject.”

Azagoh-Kouadio v. Roman Catholic Diocese of Burlington, 2016 Vt. Unpub. LEXIS 233, *11 (Vt. 2016).

Independent Cause of Action: Yes. See, e.g., Kellogg v. Shushereba, 2013 VT 76, P31 (Vt. 2013).

SOL: 6 years. “[W]e find that the unjust enrichment claim is barred by the six-year statute of

limitations….” Stankiewicz v. Estate of LaRose, 151 Vt. 453, 456 (Vt. 1989) (applying 12 V.S.A. § 511).




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                                             42. VIRGINIA

Elements of Unjust Enrichment: “To state a cause of action for unjust enrichment, [the plaintiff] had to

allege that: (1) he conferred a benefit on [the defendant]; (2) [the defendant] knew of the benefit and

should reasonably have expected to repay [the plaintiff]; and (3) [the defendant] accepted or retained the

benefit without paying for its value.” Schmidt v. Household Fin. Corp., II, 276 Va. 108, 116 (Va. 2008).

Adoption of Restatement: See Faulknier v. Shafer, 264 Va. 210, 217 (Va. 2002).

Adequate Remedy at Law: “The existence of an express contract covering the same subject matter of

the parties' dispute precludes a claim for unjust enrichment.” CGI Fed. Inc. v. FCi Fed., Inc., 814 S.E.2d

183, 190 (Va. 2018) (citing Southern Biscuit Co. v. Lloyd, 174 Va. 299, 311, 6 S.E.2d 601, 606 (Va.

1940)).

Independent Cause of Action: Yes. See, e.g., Kern v. Freed Co., Inc., 299 S.E.2d 363, 365 (Va. 1983).

SOL: 3 years. Belcher v. Kirkwood, 238 Va. 430, 433 (Va. 1989) (applying Va. Code § 8.01-246(4)).




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                                         43. WEST VIRGINIA

Elements of Unjust Enrichment: “[I]f benefits have been received and retained under such circumstance

that it would be inequitable and unconscionable to permit the party receiving them to avoid payment

therefor, the law requires the party receiving the benefits to pay their reasonable value.” Realmark Devs.

v. Ranson, 542 S.E.2d 880, 884-885 (W. Va. 2000).

Adoption of Restatement: See Realmark Devs. v. Ranson, 542 S.E.2d 880, 884-885 (W. Va. 2000).

Adequate Remedy at Law: “[A]n express contract and an implied contract, relating to the same subject

matter, cannot co-exist.” Case v. Shepherd, 140 W. Va. 305, 84 S.E.2d 140, 144 (W. Va. 1954).

Independent Cause of Action: Yes. See Absure, Inc. v. Huffman, 213 W. Va. 651, 655 (W. Va. 2003).

SOL: “The unjust enrichment claim, as previously stated, was equitable in nature, and thus principles of

laches rather than the Statute of Limitations govern the bringing of it, and the Court believes that the

appellants have failed to show laches sufficient to bar the claim.” Absure, Inc. v. Huffman, 213 W. Va.

651, 655 (W. Va. 2003).

“The elements of laches consist of (1) unreasonable delay and (2) prejudice. … The burden of proving

unreasonable delay and prejudice is upon the litigant seeking relief [i.e. asserting laches].” White v. White,

2017 W. Va. LEXIS 636, *12 (W.Va. September 1, 2017)




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                                            44. WISCONSIN

Elements Unjust Enrichment: “A claim for unjust enrichment requires [a plaintiff] to show (1) [the

plaintiff] conferred a benefit on [the defendant]; (2) [the defendant] knew of the benefit; and (3) [the

defendant] accepted or retained the benefit under circumstances that made it inequitable for him to retain

the benefit.” Bushard v. Reisman, 2011 WI 51, ¶ 41 (citing Staver v. Milwaukee County, 2006 WI App

33, ¶24, 289 Wis. 2d 675, 712 N.W.2d 387).

Adoption of Restatement: “The jurisprudence of unjust enrichment in Wisconsin is consistent with that

found in the recognized treatises and encyclopedias. See, Restatement of Restitution, Unjust Enrichment,

sec. 1, pp. 12-13; 66 Am. Jur. 2d, Restitution and Implied Contracts, Unjust Enrichment, sec. 3 (1973).”

Lawlis v. Thompson, 137 Wis. 2d 490, 498 (Wis. 1987).

Adequate Remedy at Law: “We will assume, as the parties do, that there is no express contract. A claim

of unjust enrichment cannot survive if the parties have entered into a contract.” JBCB, LLC v. McKenna

Berry Co., LLC, 2017 Wisc. App. LEXIS 1031, *44 (Wis. App. Dec. 14, 2017).

Independent Cause of Action: Yes. Lawlis v. Thompson, 137 Wis. 2d 490, 498 (Wis. 1987).

SOL: 6 years. “Recovery based on unjust enrichment is sometimes referred to as a quasi-contract. As a

claim based on quasi-contract, a claim for unjust enrichment is subject to the six-year statute of

limitations set forth in WIS. STAT. § 893.43.” Stapel v. Stapel, 2010 Wisc. App. LEXIS 544, *17 (Wis.

App. July 14, 2010).




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